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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TRAVIS TERRY,

      Plaintiff,
                                               No. 17-cv-00671
v
                                               HON. ROBERT J. JONKER
MICHIGAN DEPARTMENT
OF CORRECTIONS,

      Defendant.
_____________________________________________________________________________

Ronnie E. Cromer, Jr. (P59418)         Sarah Robbins (P81944)
The Cromer Law Group, PLLC             Attorney for Defendant
Attorney for Plaintiff                 Michigan Department of Attorney General
24901 Northwestern Hwy., Suite 612     State Operations Division
Southfield, MI 48075                   P.O. Box 30754
248-809-6790                           Lansing, MI 48909
rcromerjr@thecromerlawgroup.com        (517) 373-1162
                                       Robbinss@michigan.gov
_____________________________________________________________________________


                   PROTECTIVE ORDER REGARDING
               DISCOVERY PRODUCED BY THE DEFENDANT

      IT IS ORDERED, that the production of any discovery by the Michigan

Department of Corrections will be subject to the following protective conditions:

       1.    The discovery involved may contain, in part, confidential

and/or privileged information regarding the Defendants, other

individuals, and/or policies, procedures, of the Michigan Department of

Corrections, and that the dissemination of said materials may hinder

the ability of the Department to ensure the safety and security of the
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Department of Corrections’ correctional facilities.

      2.        The information derived from this discovery shall be used

solely and exclusively for purposes of this lawsuit and W.D. Mich. No. 17-

cv-00671. Such information shall not be used in or for other cases,

proceedings or disputes, or for any other purpose whatsoever.

      3.        The aforementioned materials may not be disclosed to any

person other than parties, counsel of record for the respective parties to

this litigation, the paralegal and clerical staff of same, expert witnesses

or consultants engaged by counsel, and the court and court personnel,

under such safeguards as the court may direct so as to preserve and to

protect the confidentiality of information made reference to herein.

      4.        This order does not authorize the filing of any documents under seal.

Documents may be sealed only if authorized by statute, rule, or order of the Court.

A party seeking to have filed under seal any paper or other matter in this case

must comply with Local Rule 10.6 and file a motion requesting such relief.

Whenever a motion to seal is filed, the movant shall submit a brief that states the

particular reason the seal is required and follow the procedures set forth in Local

Rule 10.6(b).

      5.        The provisions of this Order shall survive and remain in full

force and effect after the entry of final judgment (including any

appellate proceedings) in this case, whether by settlement or litigation

unless otherwise ordered by this Court.
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       6.    The production of discovery subject to this protective order

 does not constitute an admission or agreement that any document or

 information is admissible as evidence in this case of W.D. Mich. No. 17-cv-

 00671.

      7.     Necessary modification of this order may be sought by

stipulation or by motion to the Court upon a showing of good cause.

      8.     Procedure upon termination of this action:      60 days after

the termination of this action by order or judgment, or by an appellate

mandate if appealed, the material submitted under seal pursuant to

this protective order will be unsealed and placed in the public case file,

unless counsel present a proposed order directing the Clerk's Office to

return them to the parties responsible for their submission. An order for

the return of protected documents to the parties or attorneys who

submitted them shall require counsel to maintain one archival copy of

depositions, exhibits, transcripts, court exhibits and transcripts, and

documents and information included in submissions to the court.

      IT IS SO ORDERED.



       June 28, 2018
Date: ________________         /s/ Robert J. Jonker
                              _______________________________
                              ROBERT    J. JONKER
                              HON. ROBERT        J. YONKER
                              CHIEF  UNITED STATES
                              U.S. DISTRICT      COURTDISTRICT
                                                        JUDGE JUDGE

                                                         ROBERT J. JONKER
                                                         CHIEF UNITED STATES DI


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The parties, through their respective counsel, stipulate to the entry of the above
order.


Date: June 28, 2018                           Date: June 28, 2018

s/ Ronnie E. Cromer, Jr.                      s/Sarah R. Robbins
Ronnie E. Cromer, Jr. (P59418)                Sarah Robbins (P81944)
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